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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                               (Joint Administration Requested)
                           Debtors.
                                                               Hearing Date: TBD
                                                               Objection Deadline: TBD

       DEBTORS’ MOTION, PURSUANT TO 11 U.S.C. § 502(b)(9), BANKRUPTCY
    RULES 2002 AND 3003(c)(3), AND LOCAL RULES 2002-1(e), 3001-1, AND 3003-1,
    FOR AUTHORITY TO (I) ESTABLISH DEADLINES FOR FILING PROOFS OF
     CLAIM, (II) ESTABLISH THE FORM AND MANNER OF NOTICE THEREOF,
       (III) APPROVE PROCEDURES FOR PROVIDING NOTICE OF BAR DATE
        AND OTHER IMPORTANT INFORMATION TO ABUSE VICTIMS, AND
      (IV) APPROVE CONFIDENTIALITY PROCEDURES FOR ABUSE VICTIMS

         The Boy Scouts of America (the “BSA”) and Delaware BSA, LLC, the non-profit

corporations that are debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”) submit this motion (this “Motion”), pursuant to section 502(b)(9) of

title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules 2002

and 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

rules 2002-1(e), 3001-1, and 3003-1 of the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for entry of

an order (the “Proposed Order”) substantially in the form attached hereto as Exhibit A,

(i) establishing deadlines within which General Proofs of Claim and Abuse Proofs of Claim

(each as defined below, and together, the “Proofs of Claim”) against the Debtors’ estates are to

be filed, (ii) approving the proposed procedures for filing General Proofs of Claim and Abuse


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 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Proofs of Claim (each as defined below), including special procedures allowing for holders of

Abuse Claims to file confidential Abuse Proofs of Claim, (iii) approving the proposed

procedures for notice of the bar dates, including the form of Bar Date Notices (as defined below),

(iv) approving the General Proof of Claim Form and the Abuse Proof of Claim Form (each as

defined below), (v) approving the forms of supplemental notice and procedures for providing

notice to unknown holders of Abuse Claims and other unknown creditors and parties in interest,

and (vi) granting related relief.2 In support of this Motion, the Debtors respectfully state as

follows:

                         STATUS OF THE CASES AND JURISDICTION

        1.       On the date hereof (the “Petition Date”), the Debtors each filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Delaware (the “Court”). Concurrently with the filing of this Motion, the

Debtors have requested joint administration and procedural consolidation of these chapter 11

cases pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate and maintain their

non-profit organization and manage their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No party has requested the appointment of a trustee

or examiner in these cases, and no statutory committee has been appointed.

        2.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to

the entry of a final order or judgment by the Court in connection with this Motion if it is
2
 All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC (the “Plan”), filed
concurrently herewith.



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determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The statutory and other predicates for the relief requested herein are section

502(b)(9) of the Bankruptcy Code, Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules

2002-1(e), 3001-1, and 3003-1.

                                 BACKGROUND OF THE DEBTORS

        5.       The BSA is a federally chartered non-profit corporation under title 36 of the

United States Code. The BSA is exempt from federal income tax under section 501(c)(3) of the

Internal Revenue Code. Founded in 1910 and chartered by an act of Congress in 1916, the BSA

is one of the largest youth organizations in the United States and one of the largest Scouting

organizations in the world, with approximately 2.2 million registered youth participants and

approximately 800,000 adult volunteers. As a non-profit corporation, the BSA is required to

adopt and carry out a charitable, religious, educational, or other philanthropic mission. The

BSA’s mission is to prepare young people for life by instilling in them the values of the Scout

Oath and Law,3 encouraging them to be trustworthy, kind, friendly and helpful, while also

training youth in responsible citizenship, skills development and self-reliance through

participation in a wide range of outdoor activities, educational programs, and, at older ages,

career-oriented programs in partnership with community organizations. Delaware BSA, LLC

(“Delaware BSA”) is a non-profit limited liability company incorporated under the laws of




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  Scout Oath: “On my honor I will do my best to do my duty to God and my country and to obey the Scout Law; to
help other people at all times; to keep myself physically strong, mentally awake, and morally straight.” Scout Law:
“A Scout is trustworthy, loyal, helpful, friendly, courteous, kind, obedient, cheerful, thrifty, brave, clean, and
reverent.”



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Delaware and exempt from federal income tax under section 501(c)(3) of the Internal Revenue

Code. BSA is the sole member of Delaware BSA.

       6.      To carry out its mission of developing youth leaders of character and integrity, the

BSA grants charters to thousands of local organizations across the country, including faith-based

institutions, clubs, civic associations, educational institutions, and businesses. These chartered

organizations, in turn, form Scouting units—referred to as “packs” for Cub Scouts, “troops” for

Scouts BSA (formerly known as Boy Scouts), “crews” for Venturing, “ships” for Sea Scouts,

“labs” for STEM Scouts, and “posts” for Exploring. Scouting units are led by adult volunteers

appointed by the chartered organization. Each of the BSA’s approximately 81,000 Scouting

units in the United States is organized, registered, and supported by one of 261 local councils

that are chartered by the BSA and oversee the Scouting program in an assigned geographic

area. Each local council is separately incorporated under the non-profit laws of its respective

state, maintains an independent board of directors and senior management, and is exempt from

federal income tax under section 501(c)(3) of the Internal Revenue Code. The BSA does not

hold any equity interest in any local council, chartered organization, or Scouting unit, and only

the BSA and its wholly owned subsidiary, Delaware BSA, are debtors in these chapter 11 cases.

Additional information regarding the BSA, its mission and operations, and the events and

circumstances preceding the Petition Date is set forth in the Declaration of Brian Whittman in

Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day

Declaration”) and the Debtors’ Informational Brief, filed concurrently herewith.

                                    RELIEF REQUESTED

       7.      By this Motion, the Debtors request entry of the Proposed Order, substantially in

the form attached hereto as Exhibit A, granting the following relief:




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                  (a)       establishing 5:00 p.m. (prevailing Eastern Time) on the date that is
                            eighty (80) days from service of the General Bar Date Notice as the
                            deadline for each (i) person or entity (as defined in section 101(41) of the
                            Bankruptcy Code), but not including any holder of an Abuse Claim (as
                            defined below) and any Governmental Unit (as defined below) to file a
                            proof of claim (each, a “General Proof of Claim”) in respect of a
                            prepetition claim (as defined in section 101(5) of the Bankruptcy Code),
                            including, for the avoidance of doubt, secured claims, priority claims, and
                            claims arising under section 503(b)(9) of the Bankruptcy Code against
                            either of the Debtors (the “General Bar Date”);

                  (b)        establishing 5:00 p.m. (prevailing Eastern Time) on the date that is
                            eighty (80) days from service of the Abuse Claims Bar Date Notice as
                            the deadline for any holder of an Abuse Claim to file a proof of claim
                            against either of the Debtors (each, an “Abuse Proof of Claim”) in respect
                            of any claim arising from abuse (as defined in the Plan, an “Abuse
                            Claim”)4 occurring prior to the Petition Date (the “Abuse Claims Bar
                            Date”);

                  (c)       establishing August 17, 2020 at 5:00 p.m. (prevailing Eastern Time) as
                            the deadline for governmental units (as defined in section 101(27) of the
                            Bankruptcy Code, the “Governmental Units”) to file a General Proof of
                            Claim in respect of a prepetition claim against either of the Debtors (the
                            “Governmental Bar Date” and, together with the General Bar Date and the
                            Abuse Claims Bar Date, the “Bar Dates”);

                  (d)       approving the proposed procedures for filing General Proofs of Claim and
                            Abuse Proofs of Claim (collectively, the “Proofs of Claim”), including
                            special procedures for the confidential filing of Abuse Proofs of Claim;

                  (e)       approving the proposed procedures for notice of the Bar Dates, including,
                            among other things, (i) the form of notice of the Bar Dates to be sent to
                            parties in interest other than holders of Abuse Claims (the “General Bar
                            Date Notice”), substantially in the form annexed hereto as Exhibit B-1,
                            and (ii) the form of notice to be sent to known holders of Abuse Claims
                            (the “Abuse Claims Bar Date Notice” and, together with the General Bar

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  For purposes of this Motion, an “Abuse Claim” means a liquidated or unliquidated Claim that is attributable to,
arises from, is based upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively, sexual
conduct or misconduct, sexual abuse or molestation, sexual exploitation, indecent assault and/or battery, rape,
pedophilia, ephebophilia, sexually related psychological or emotional harm, humiliation, anguish, shock, sickness,
disease, disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts or interactions of a
sexual nature, including the use of photography, video, or digital media, or other physical abuse or bullying without
regard to whether such physical abuse or bullying is of a sexual nature, between a child and an adult, between a
child and another child, or between a non-consenting adult and another adult, in each instance without regard to
whether such activity involved explicit force, whether such activity involved genital or other physical contact, and
whether there is or was any associated physical, psychological, or emotional harm to the child or non-consenting
adult that occurred prior to the Petition Date.



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                          Date Notice, the “Bar Date Notices”), substantially in the form annexed
                          hereto as Exhibit B-2;

                 (f)      approving (i) the proposed model Proof of Claim form for creditors other
                          than holders of Abuse Claims (the “General Proof of Claim Form”),
                          substantially in the form annexed hereto as Exhibit C-1, and (ii) the
                          proposed model Proof of Claim form for holders of Abuse Claims (the
                          “Abuse Proof of Claim Form”), substantially in the form annexed hereto
                          as Exhibit C-2;

                 (g)      approving (i) the form of notice to be sent to and published with respect to
                          unknown holders of Abuse Claims (the “Abuse Claims Publication
                          Notice”), substantially in the form annexed hereto as Exhibit B-3, and
                          (ii) approving the Debtors’ plan and other specialized supplemental
                          procedures (together with the Abuse Claims Publication Notice, the
                          “Supplemental Notice Plan”) for providing notice of the Abuse Claims
                          Bar Dates to unknown holders of Abuse Claims;5 and

                 (h)      granting related relief.

                                             THE BAR DATES

        8.       Bankruptcy Rule 3003(c)(3) provides that the Court shall fix the time within

which Proofs of Claim may be filed. Moreover, Bankruptcy Rule 3003(c)(2) provides that any

creditor whose claim (a) is not scheduled in a debtor’s schedules or (b) is scheduled as disputed,

contingent, or unliquidated must file a Proof of Claim by a bar date fixed by the Court.

Bankruptcy Rule 3003(c)(2) further provides that “any creditor who fails to do so shall not be

treated as a creditor with respect to such claim for the purposes of voting and distribution.”

        9.       Section 502(b)(9) of the Bankruptcy Code provides that the “claim of a

governmental unit shall be timely filed if it is filed before 180 days after the date of the order for

relief or such later time as the Federal Rules of Bankruptcy Procedure may provide.” 11 U.S.C.



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  The Debtors intend to supplement this Motion in advance of the hearing with the Abuse Claims Bar Date Notice,
the Abuse Proof of Claim Form, and the Supplemental Notice Plan after consulting with any committee or future
claims representative appointed in these chapter 11 cases to represent holders of Abuse Claims. The forms of Abuse
Claims Bar Date Notice, Abuse Proof of Claim Form, and Abuse Claims Publication Notice and the supplement to
this Motion detailing the Supplemental Notice Plan will be filed with the Court prior to the deadline for filing
responses or objections to the Motion.



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§ 502(b)(9). Accordingly, the Debtors seek to establish a separate Governmental Bar Date for

governmental claims.

       10.     In order to proceed expeditiously in these chapter 11 cases and solicit votes on the

Plan, the Debtors must identify all potential voting creditors by fixing and sending out notice to

potential parties in interest of the Bar Dates. Fixing the Bar Dates will enable the Debtors to

receive, process, and analyze creditor claims in a timely and efficient manner, and will expedite

the administration of these chapter 11 cases and distributions to claimants. The analysis of

Abuse Claims in particular is of critical importance to move these chapter 11 cases forward.

Based on the Notice Procedures set forth below, including the forthcoming Supplemental Notice

Plan, the proposed Bar Dates will give creditors ample opportunity to prepare and timely file

Proofs of Claim.

       11.     As set forth in the First Day Declaration, these chapter 11 cases were necessitated

by a confluence of factors resulting from Abuse Claims filed against the Debtors alleging

inappropriate conduct, including allegations of sexual abuse, dating back as far as the early

1940s, and the Debtors’ liabilities and potential liabilities therefrom. The Debtors are committed

to ensuring that these survivors are treated fairly and respectfully and preventing future abuse.

The number of pending claims and lawsuits, and the unknown number of additional Abuse

Claims that may be asserted, make it clear that the Debtors cannot continue to address each of

those claims in courts across the country in a “one-off” nature while also fulfilling the BSA’s

mission of training youth through its character development and values-based leadership

programs. As set forth in the First Day Declaration, as of the date hereof, approximately 1,700

known Abuse Claims have been asserted.




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        12.     The Debtors have commenced these chapter 11 cases to achieve the dual

objectives of (a) timely and equitably compensating victims of abuse in Scouting and (b)

ensuring that the BSA emerges from bankruptcy with the ability to continue its critical charitable

mission. Prolonged bankruptcy proceedings would imperil both of these objectives. As a non-

profit corporation that relies largely on member fees and donations, considerations of economy

and speed are of the utmost importance to the BSA. The Debtors are filing this Motion to

establish the Bar Dates at the outset of these chapter 11 cases in order to begin a productive

dialogue with any official committees appointed in these chapter 11 cases.

The General Bar Date

        13.     The Debtors request that the Court establish 5:00 p.m. (prevailing Eastern Time)

on the date that is eighty (80) days from service of the General Bar Date Notice as the General

Bar Date.

        14.     As set forth below, the Debtors have proposed standard procedures for providing

notice of the General Bar Date to all parties, other than holders of Abuse Claims, that are entitled

to receive such notice in these chapter 11 cases. These parties include the Debtors’ lenders and

other financial creditors, suppliers, vendors, trade creditors, employees, non-sexual abuse-related

litigation claimants, and other traditional creditors and parties in interest in these chapter 11

cases (collectively, the “Traditional Notice Parties”).6

The Governmental Bar Date

        15.     The Debtors request that the Court establish August 17, 2020 at 5:00 p.m.

(prevailing Eastern Time) as the Governmental Bar Date.

        16.     Pursuant to Section 502(b)(9) of the Bankruptcy Code, “a claim of a
6
  Concurrently herewith, the Debtors have filed the Notice and Confidentiality Procedures Motion, pursuant to
which the Debtors are seeking the approval of certain procedures for the mailing and publication of the notice
announcing the commencement of these chapter 11 cases.



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governmental unit shall be timely filed if it is filed before on hundred eighty (180) days after the

date of the order for relief or such later time as the Federal Rules of Bankruptcy Procedure may

provide.” As August 17, 2020 is the first business day at least 180 days after the Petition Date,

the proposed Governmental Bar Date complies with section 502(b)(9) of the Bankruptcy Code.

The Abuse Claims Bar Date

        17.      The Debtors request that the Court establish 5:00 p.m. (prevailing Eastern Time)

on the date that is eighty (80) days from service of the Abuse Claims Bar Date Notice as the

Abuse Claims Bar Date.

        18.      With respect to potential holders of Abuse Claims, the Debtors are limited in their

ability to identify with specificity the identities or location of these claimants. Approximately

90% of pending and asserted Abuse Claims relate to abuse that occurred before 1988. In 1988,

the BSA strengthened its existing youth protection programs with a series of enhanced policies

and procedures, including a more comprehensive volunteer screening database, additional

supervision requirements and reporting obligations designed to keep would-be abusers away

from Scouts, and improved training and other literature addressing ways to prevent, recognize,

and respond to sexual abuse.            Accordingly, the BSA anticipates that the vast majority of

unknown abuse victims have not been involved with the BSA in well over thirty years.7

Providing traditional notice to these unknown holders of Abuse Claims whose whereabouts are

unknown would be extraordinarily expensive, likely costing tens of millions of dollars. Such

notice is not just impractical — it is likely impossible. Even if the Debtors could locate a portion

of these former participants in Scouting, traditional noticing would exhaust a large portion of

funds otherwise available for creditor distributions.
7
  For example, a child that participated in one of the BSA’s programs in the 1970s or early 1980s most assuredly no
longer resides at the address such participant’s parents would have provided during that time period. Utilizing
decades-old address information or searching for all participants’ current locations would likely be futile.



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       19.     The Debtors intend to implement the Supplemental Notice Plan and publish the

Abuse Claims Publication Notice in order to provide important deadlines and information to

unknown holders of Abuse Claims who, as of the Petition Date, had not commenced actions

against the Debtors or provided sufficient contact information to be “known” to the Debtors.

The Debtors are formulating the Supplemental Notice Plan, and plan to engage in discussions

with any official committee and Future Claimants’ Representative appointed in these chapter 11

cases to represent abuse victims regarding the details of this Supplemental Notice Plan and

Abuse Proof of Claim Form. After these discussions have occurred, the Debtors intend to

supplement to this Motion with the Supplemental Notice Plan and related exhibits.             The

Supplemental Notice Plan described above will address notice to unknown holders of Abuse

Claims.

       20.     By this Motion, the Debtors are also seeking the approval of noticing procedures

for Traditional Notice Parties and special noticing procedures for known holders of Abuse

Claims (the “Abuse Claims Notice Procedures” and together with the noticing procedures for

Traditional Notice Parties, the “Notice Procedures”). “Known” holders of Abuse Claims include

individuals who have provided sufficient contact information to the Debtors and for whom the

Debtors have reasonably ascertainable records, and have (a) filed, or threatened to file, lawsuits

against the Debtors alleging they were abused, (b) otherwise contacted the Debtors to report

Abuse Claims, (c) entered into a settlement agreement with the Debtors stemming from

allegations of abuse, or (d) received payment from the Debtors as a result of an allegation of

abuse. These parties will each be served an Abuse Claims Bar Date Notice and Abuse Proof of




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Claim Form. All known non-abuse creditors and parties in interest (i.e., the Traditional Notice

Parties) will receive the General Bar Date Notice and General Proof of Claim Form.8

         21.      The Abuse Claims Notice Procedures set forth herein have been formulated to

provide notice of certain critical papers, deadlines, and events in these chapter 11 cases to known

holders of Abuse Claims and will facilitate the submission, confidentiality, and evaluation of

Abuse Claims. Among other things, as set forth below, these special procedures include a

simpler Abuse Claims Bar Date Notice and customized Proof of Claim Form for holders of

Abuse Claims. The Abuse Claims Bar Date Notice is an abbreviated notice, written in plain

English, which provides clear instructions for obtaining and submitting an Abuse Proof of Claim

by the Abuse Claims Bar Date. This customized notice will be more effective in providing the

required notice of the Abuse Claims Bar Date, and may also result in substantial cost-savings to

the Debtors’ estates because of its shortened length.

         22.      Given that Abuse Claims differ substantively and materially from other claims to

be filed against the Debtors, the Debtors request that the Court approve a customized and

confidential Abuse Proof of Claim Form for holders of Abuse Claims. As part of the Abuse

Claims Notice Procedures, the Debtors are also seeking approval of certain specialized

confidentiality procedures for the submission and handling of Abuse Proofs of Claim and other

sensitive proof of claim submissions (such as the claims of minors), which are described in

greater detail herein.
8
  The Debtors will treat as a Traditional Notice Party any holder of an Abuse Claim that (a) has filed a notice of
appearance in accordance with Local Rule 2002-1 or (b) is otherwise identified on the Debtors’ schedules of assets
and liabilities filed with the Court (the “Schedules”) as having a claim against either of the Debtors, including
contingent, unliquidated, or disputed claims (i.e., litigation parties other than litigation related to Abuse Claims or
parties otherwise known to be creditors of the Debtors), and such parties will receive actual notice of the Bar Dates
and all other notices and pleadings served on Traditional Notice Parties in these chapter 11 cases. For the avoidance
of doubt, any such holder of an Abuse Claim shall nonetheless have until the Abuse Claims Bar Date to file an
Abuse Proof of Claim; provided, however, that a holder of an Abuse Claim who also holds or asserts a claim other
than an Abuse Claim must file a General Proof of Claim with respect to such non-Abuse Claim by the General Bar
Date.



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        23.      The Notice Procedures were designed after lengthy and thorough consideration by

the Debtors and their advisors,9 and the Debtors submit that such procedures go above and

beyond noticing requirements under the law and provide actual notice of the Bar Dates and other

important deadlines and information to potential claimants.

               PROPOSED PROCEDURES FOR FILING PROOFS OF CLAIM

I.      Proposed Procedures for Filing General Proofs of Claim

        24.      The Debtors propose the following procedures for filing General Proofs of Claim

(i.e., proofs of claim to be filed against either of the Debtors by any person or entity other than a

holder of an Abuse Claim):

                 (a)      Unless otherwise provided herein, the General Bar Date shall be 5:00 p.m.
                          (prevailing Eastern Time) on the date that is eighty (80) days from the
                          service of the General Bar Date Notice.

                 (b)      Unless otherwise provided herein, the Governmental Bar Date shall be
                          August 17, 2020 at 5:00 p.m. (prevailing Eastern Time).

                 (c)      General Proofs of Claim must: (i) be written in the English language;
                          (ii) be denominated in lawful currency of the United States as of the
                          Petition Date (using the exchange rate, if applicable, as of the Petition
                          Date); (iii) conform substantially to the General Proof of Claim Form
                          annexed hereto as Exhibit C-1 or Official Bankruptcy Form No. 410;10
                          (iv) specify by name and case number the Debtor against which the
                          General Proof of Claim is filed; (v) set forth with specificity the legal and
                          factual basis for the alleged claim; (vi) include supporting documentation
                          for the claim or an explanation as to why such documentation is not
                          available; and (vii) be signed by the claimant or, if the claimant is not an
                          individual, by an authorized agent of the claimant.




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  The Debtors, any official committee appointed in these chapter 11 cases to represent holders of Abuse Claims, and
any proposed Future Claimants’ Representative will continue to discuss the Proposed Order, Bar Date Notices, and
Abuse Claims Notice Procedures, and may file revisions or modifications to such documents and procedures prior to
the hearing date on this Motion.
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   Official Bankruptcy Form No. 410 can be found at https://www.uscourts.gov/forms/bankruptcy-forms/proof-
claim-0, the Official Website for the United States Bankruptcy Courts. A customized General Proof of Claim Form
and the Abuse Proof of Claim Form can also be obtained on the website established in these chapter 11 cases,
www.OfficialBSAClaims.com.



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                 (d)      If a claimant asserts a claim against more than one Debtor or has claims
                          against both Debtors, the claimant must file a separate General Proof of
                          Claim against each Debtor.

                 (e)      General Proofs of Claim must be filed by delivering the original General
                          Proof of Claim Form by hand, or mailing the original General Proof of
                          Claim Form so that it is received by the claims and noticing agent, Omni
                          Agent Solutions (the “Claims and Noticing Agent”),11 on or before the
                          General Bar Date as follows:

                                   BSA Claims Processing
                                   c/o Omni Agent Solutions
                                   5955 De Soto Ave., Suite 100
                                   Woodland Hills, CA 91367

                 (f)      A General Proof of Claim shall be deemed timely filed only if it is
                          actually received by the Claims and Noticing Agent at the address listed
                          above in subparagraph (e) on or before the General Bar Date or
                          Governmental Bar Date.

                 (g)      General Proofs of Claim sent by email, facsimile, or telecopy transmission
                          will not be accepted.

                 (h)      Any person or entity (including, without limitation, individuals,
                          partnerships, corporations, joint ventures, trusts, and Governmental Units)
                          that asserts a claim that arises from the rejection of an executory contract
                          or unexpired lease must file a General Proof of Claim based on such
                          rejection by the later of (i) the General Bar Date or Governmental Bar
                          Date, as applicable, and (ii) the date that is thirty (30) days following the
                          entry of the Court order approving such rejection (which order may be the
                          order confirming a chapter 11 plan in the Debtors’ chapter 11 cases), or be
                          forever barred from doing so.

                 (i)      Notwithstanding the foregoing, a party to an executory contract or
                          unexpired lease that asserts a claim on account of unpaid amounts accrued
                          and outstanding as of the Petition Date pursuant to such executory contract
                          or unexpired lease (other than a rejection damages claim) must file a
                          General Proof of Claim for such amounts on or before the General Bar
                          Date or Governmental Bar Date, as applicable, unless an exception
                          identified in paragraph (l) below applies.

                 (j)      In the event that the Debtors amend or supplement their Schedules
                          subsequent to the date of entry of the Proposed Order, the Debtors shall
                          give notice of any amendment or supplement to the holders of claims

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  Concurrently herewith, the Debtors have filed an application requesting authority to retain Omni Agent Solutions
as the Debtors’ claims and noticing agent in these chapter 11 cases.



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       affected thereby, and such holders shall have until the later of (i) the
       General Bar Date and (ii) thirty (30) days from the date of such notice to
       file a General Proof of Claim or be barred from doing so and shall be
       given notice of such deadline.

 (k)   Any person or entity that relies on the Schedules has the responsibility to
       determine that its claim is accurately listed in the Schedules.

 (l)   The following persons or entities are not required to file a General Proof
       of Claim on or before the General Bar Date, solely with respect to the
       claims described below:

       (1)    any person or entity whose claim is listed on the Schedules;
              provided that (i) the claim is not listed on the Schedules as
              “disputed,” “contingent,” or “unliquidated,” (ii) the person or
              entity does not dispute the amount, nature, and priority of the claim
              as set forth in the Schedules, and (iii) the person or entity does not
              dispute that the claim is an obligation of the specific Debtor
              against which the claim is listed in the Schedules;

       (2)    any person or entity whose claim has been paid in full;

       (3)    any holder of a claim allowable under section 503(b) and 507(a)(2)
              of the Bankruptcy Code as an administrative expense (other than
              a holder of a section 503(b)(9) claim);

       (4)    any person or entity who holds a claim that heretofore has been
              allowed by Order of this Court entered on or before the applicable
              Bar Date;

       (5)    any holder of a claim for which a separate deadline has been fixed
              by this Court;

       (6)    any person or entity (other than a holder of an Abuse Claim) who
              has already filed a Proof of Claim with the Claims and Noticing
              Agent against the Debtors with respect to the claim being asserted,
              utilizing a claim for that substantially conforms to the General
              Proof of Claim Form or Official Form No. 410; or

       (7)    each Debtor in these chapter 11 cases having a claim against the
              other Debtor in these chapter 11 cases.




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II.    Proposed Procedures for Filing Abuse Proofs of Claim

       A.     Proposed Filing Procedures

       25.    The Debtors propose the following procedures for filing Abuse Proofs of Claim

by any person or entity that is a holder of an Abuse Claim:

              (a)    Unless otherwise provided herein, the Abuse Claims Bar Date shall be
                     5:00 p.m. (prevailing Eastern Time) on the date that is eighty (80)
                     days from the service of the Abuse Claims Bar Date Notice.

              (b)    Abuse Proofs of Claim must: (i) be written in the English language; (ii)
                     be denominated in lawful currency of the United States as of the Petition
                     Date (using the exchange rate, if applicable, as of the Petition Date); (iii)
                     conform substantially to the Abuse Proof of Claim Form annexed hereto
                     as Exhibit C-2; (iv) set forth with specificity the legal and factual basis
                     for the alleged claim, including all of the information requested in the
                     Abuse Proof of Claim Form; and (v) be signed by the holder of the Abuse
                     Claim.

              (c)    Abuse Proofs of Claim must be filed by delivering the original Abuse
                     Proof of Claim Form by hand, or mailing the original Abuse Proof of
                     Claim Form on or before the Abuse Claims Bar Date as follows:

                            BSA Abuse Claims Processing
                            c/o Omni Agent Solutions
                            5955 De Soto Ave., Suite 100
                            Woodland Hills, CA 91367

              (d)    An Abuse Proof of Claim shall be deemed timely received only if it is
                     actually received by the Claims and Noticing Agent at the address listed
                     above in subparagraph (c) on or before the Abuse Claims Bar Date.

              (e)    Abuse Proofs of Claim sent by email, facsimile, and telecopy transmission
                     will not be accepted.

              (f)    Any holder of an Abuse Claim who believes that she or he has an
                     Abuse Claim, including but not limited to holders of Abuse Claims
                     who have previously filed lawsuits or asserted claims against the
                     Debtors, holders of Abuse Claims who have called the Scouts First
                     Hotline or otherwise reported a claim of abuse, and holders of Abuse
                     Claims who have never filed a lawsuit, asserted a claim against the
                     Debtors, entered into a settlement, or reported their abuse, must
                     submit the applicable Abuse Proof of Claim Form. For the avoidance
                     of doubt, even if the Abuse Claim is time-barred under an applicable
                     statute of limitations, each holder of an Abuse Claim is required to file


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                      an Abuse Proof of Claim in order to preserve the right to pursue an
                      Abuse Claim in the event of a change in the applicable statute of
                      limitations, or shall be forever barred from doing so. Any holder of an
                      Abuse Claim must file the applicable Abuse Proof of Claim Form even if
                      such claimant may be included in, or represented by, another action filed
                      against the Debtors with respect to such claimant’s Abuse Claim.

              (g)     The following persons or entities are not required to file an Abuse Proof
                      of Claim on or before the Abuse Claims Bar Date, solely with respect to
                      the claims described below:

                      (1)    Any person or entity that is not a holder of an Abuse Claim;

                      (2)    Any holder of an Abuse Claim whose claim has been paid in full;
                             provided, however, that this subsection does not include
                             holders of Abuse Claims who were paid pursuant to settlement
                             agreements but who believe they have additional claims against
                             the Debtors beyond what was agreed to in the applicable
                             settlement agreement.

                      (3)    any holder of an Abuse Claim who holds a claim that heretofore
                             has been allowed by Order of this Court entered on or before the
                             applicable Abuse Claims Bar Date;

       26.    For the avoidance of doubt, the foregoing procedures shall apply to all Abuse

Claims only, and, unless otherwise subject to one of the exceptions set forth above, each holder

of an Abuse Claim shall be required to file an Abuse Proof of Claim Form by the Abuse Claims

Bar Date, including any holder of an Abuse Claim (i) that may otherwise be included in, or

represented by, a lawsuit or action filed against the Debtors, and (ii) even if an Abuse Claim is

time-barred under an applicable statute of limitations, in order to preserve the right to

pursue an Abuse Claim in the event of a change in the applicable statute of limitations, or

such holder shall be forever barred from doing so.

       B.     Proposed Confidentiality Procedures

       27.    Given that Abuse Claims differ substantively and materially from other claims

filed against the Debtors, the Debtors are requesting that this Court approve a modified Abuse

Proof of Claim Form for holders of Abuse Claims. Due to the nature of the information being


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requested in the Abuse Proof of Claim Form, the Debtors are seeking approval of the following

confidentiality protocol (the “Confidentiality Protocol”). The Confidentiality Protocol will also

apply to General Proofs of Claim submitted by minors through their parents or legal guardians,

as applicable. For the avoidance of doubt, nothing in the proposed Confidentiality Protocol set

forth below shall preclude the Debtors from discharging any obligations to report child abuse

under state or federal law.

               (a)     Holders of Abuse Claims are directed not to file an Abuse Proof of Claim
                       with the Court. Instead and as described above, the Abuse Proof of Claim
                       must be mailed and delivered to the Claims and Noticing Agent at the
                       address described in paragraph 25(c) above.

               (b)     Minors and their parents and legal guardians holding non-Abuse Claims
                       are directed not to file a General Proof of Claim with the Court. Instead
                       and as described above, the General Proof of Claim must be mailed and
                       delivered to the Claims and Noticing Agent at the address described in
                       paragraph 24(e) above.

               (c)     Submitted Abuse Proofs of Claim will not be available to the general
                       public unless a holder designates otherwise on the Abuse Proof of Claim
                       Form. Submitted General Proofs of Claim of minors will not be available
                       to the general public. The Confidentiality Protocol is for the benefit of
                       such holders. Holders of Abuse Claims may, solely in their discretion,
                       elect to make public the information contained in their submitted Abuse
                       Proofs of Claim.

               (d)     Abuse Proofs of Claim submitted by holders of Abuse Claims and General
                       Proofs of Claim submitted on behalf of minors shall be held and treated as
                       confidential by the Claims and Noticing Agent, the Debtors, the Debtors’
                       counsel and retained advisors, and any of parties listed below (the
                       “Permitted Parties”) to the extent such Permitted Party requests access to
                       the Abuse Proof of Claim Form. Furthermore, each Permitted Party shall
                       execute and return to the Debtors’ counsel (with a copy to any official
                       committee that may be appointed in these chapter 11 cases to represent
                       holders of Abuse Claims) a confidentiality agreement substantially in the
                       form attached hereto as Exhibit D (the “Confidentiality Agreement”) by
                       which such Permitted Party agrees to keep the information provided in the
                       Abuse Proofs of Claim confidential.




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                 (e)      The Permitted Parties include:12

                          (1)      counsel and advisors to the Debtors retained pursuant to an Order
                                   of this Court;

                          (2)      officers, directors, and employees of the Debtors necessary to
                                   assist the Debtors and their counsel in reviewing and analyzing the
                                   Abuse Claims;

                          (3)      the Claims and Noticing Agent;

                          (4)      counsel for any official committee appointed by this Court to
                                   represent holders of Abuse Claims;

                          (5)      the Office of the United States Trustee for the District of Delaware
                                   (the “U.S. Trustee”);

                          (6)      insurance companies (including their successors) that provided
                                   insurance related to the claims described in the Abuse Proofs of
                                   Claim, including authorized claims administrators of such
                                   insurance companies and their reinsurers and counsel;

                          (7)      any Future Claimants’ Representative;

                          (8)      any special arbitrator, mediator, or claims reviewer appointed to
                                   review and resolve Abuse Claims;

                          (9)      any trustee, or functional equivalent thereof, appointed to
                                   administer payments to holders of Abuse Claims;

                          (10)     any person with the express written consent of the Debtors and any
                                   official committee appointed by this Court to represent holders of
                                   Abuse Claims upon seven (7) business days’ notice to holders of
                                   Abuse Claims; and

                          (11)     such other persons as the Court determines should have the
                                   information in order to evaluate Abuse Claims or the claims of
                                   minors upon seven (7) business days’ notice to such holders.




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  With the exception of any counsel and/or advisor the Debtors retain pursuant to Orders of this Court, counsel to
any official committee appointed to represent holders of Abuse Claims, the U.S. Trustee’s attorneys, counsel to any
appointed Future Claimants’ Representative, and the Claims and Noticing Agent, each Permitted Party receiving
access to the Abuse Proofs of Claim or the General Proofs of Claim of minors (or any information aggregated or
derived therefrom) must execute the Confidentiality Agreement.



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                 CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM

           28.    As stated above, Bankruptcy Rule 3003(c)(2) provides that any creditor whose

claim is not scheduled or is scheduled as disputed, contingent, or unliquidated that fails to file a

Proof of Claim by the applicable Bar Date “shall not be treated as a creditor with respect to such

claim for the purposes of voting and distribution.” Accordingly, the Debtors request that any

holder of a claim against either of the Debtors that is required to file a Proof of Claim in

accordance with the Proposed Order, but fails to do so on or before the applicable Bar Date shall

not be treated as a creditor with respect to such claim for the purposes of distribution in these

chapter 11 cases on account of such claim. Such claim will, for the avoidance of doubt, remain

subject to discharge under the Debtors’ Plan, and the holder thereof shall be subject to all

applicable releases, injunctions, and other terms of the Plan.

                                  NOTICE OF THE BAR DATES

I.         General Bar Date Notice

           29.    Pursuant to Bankruptcy Rule 2002(a)(7) and to provide sufficient notice to all

parties in interest of the Bar Dates (other than holders of Abuse Claims as to which

procedures are described below), the Debtors propose to serve via first-class mail (i) a General

Proof of Claim Form and (ii) the General Bar Date Notice, substantially in the form annexed

hereto as Exhibit B-1, at least eighty (80) days prior to the General Bar Date to the following

parties:

                  (a)    the U.S. Trustee;

                  (b)    all parties listed on the creditor matrix;

                  (c)    all creditors and other known holders of claims against the Debtors as of
                         the date of entry of the Proposed Order, including all entities listed on the
                         Schedules as holding claims against the Debtors, but excluding holders of
                         Abuse Claims;



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               (d)    all persons or entities that have filed General Proofs of Claim as of the
                      date of entry of the Proposed Order;

               (e)    all counterparties to the Debtors’ executory contracts and unexpired leases
                      as of the date of entry of the Proposed Order;

               (f)    all parties to pending litigation against the Debtors that is unrelated to
                      Abuse Claims;

               (g)    all current and former employees, directors, and officers (to the extent that
                      contact information for former employees, director, and officers is
                      available in the Debtors’ records);

               (h)    all regulatory authorities that regulate the Debtors’ organization as of the
                      date of entry of this Proposed Order;

               (i)    the Offices of the United States Attorney for the District of Delaware and
                      the Northern District of Texas;

               (j)    the office of the attorney general for each state in which the Debtors
                      maintain or conduct operations;

               (k)    the District Director of the Internal Revenue Service for the District of
                      Delaware;

               (l)    all other taxing authorities for the jurisdictions in which the Debtors
                      maintain or conduct organizational operations;

               (m)    all parties who have requested notice pursuant to Bankruptcy Rule 2002 as
                      of the date of entry of the Proposed Order; and

               (n)    such additional persons and entities deemed appropriate by the Debtors.

       30.     Further, the Debtors shall post the General Proof of Claim Form and the General

Bar Date Notice on the website established by the Claims and Noticing Agent for the Debtors’

chapter 11 cases: www.OfficialBSAClaims.com.

       31.     The General Bar Date Notice (i) sets forth the Bar Dates; (ii) advises creditors

under what circumstances they must file a General Proof of Claim; (iii) alerts creditors to the

consequences of failing to file a timely General Proof of Claim; (iv) sets forth the address to

which General Proofs of Claim must be sent for filing; and (v) notifies creditors that (a) General

Proofs of Claim must be filed with original signatures, and (b) facsimile, telecopy, or electronic


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mail submission of General Proofs of Claim are not acceptable and are not valid for any purpose.

Service of the General Bar Date Notice shall be substantially completed within seven (7)

business days after entry of the Proposed Order. The Debtors submit that the General Bar Date

Notice and the noticing procedures described above will provide creditors with sufficient

information to file properly prepared and executed General Proofs of Claim in a timely manner.

II.    Abuse Claims Bar Date Notice

       32.     As set forth above, the Debtors will supplement this Motion with the

Supplemental Notice Plan, which will provide special procedures with respect to unknown

holders of Abuse Claims. The procedures described below are only intended to address known

holders of Abuse Claims: individuals who have provided sufficient contact information to the

Debtors and for whom the Debtors have reasonably ascertainable records, and have (a) filed, or

threatened to file, lawsuits against the Debtors alleging they were abused, (b) otherwise

contacted the Debtors to report Abuse Claims, (c) entered into a settlement agreement with the

Debtors stemming from allegations of abuse, or (d) received payment from the Debtors as a

result of an allegation of abuse.

       33.     Pursuant to Bankruptcy Rule 2002(a)(7) and to provide sufficient notice of the

Abuse Claims Bar Date to all known Holders of Abuse Claims, the Debtors propose to serve via

first-class mail (i) the Abuse Claims Bar Date Notice, substantially in the form annexed hereto as

Exhibit B-2, and (ii) an Abuse Proof of Claim Form, at least eighty (80) days prior to the Abuse

Claims Bar Date. Further, the Debtors shall post the Abuse Proof of Claim Form and the Abuse

Claims Bar Date Notice on the Claims and Noticing Agent’s website. The Abuse Claims Bar

Date Notice and the Abuse Proof of Claim Form will be mailed to each known holder of an

Abuse Claim and to any counsel appointed to represent an official committee of holders of

Abuse Claims. Similar notice will be sent by first class mail to any holder of an Abuse Claim


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that has filed a Proof of Claim on or prior to the entry of a Proposed Order at the address listed in

such Proof of Claim.13

       34.     The Abuse Claims Bar Date Notice is a more streamlined form of Bar Date

Notice that has been specifically designed and tailored for holders of Abuse Claims. The Abuse

Claims Bar Date Notice (i) sets forth the nature of the claims against the Debtors; (ii) advises

holders of Abuse Claims of their obligation to file an Abuse Proof of Claim with the Debtors in

accordance with the Confidentiality Protocol; (iii) alerts holders of Abuse Claims to the

consequences of failing to file a timely Abuse Proof of Claim; and (iv) sets forth the address to

which Abuse Proofs of Claim must be sent for filing. Service of the Abuse Claims Bar Date

Notice on all known holders of Abuse Claims shall be substantially completed within seven (7)

business days after entry of the Proposed Order. The Debtors submit that the Abuse Claims Bar

Date Notice and the noticing procedures described therein will provide such holders with

sufficient notice and information to file properly prepared and executed Abuse Proofs of Claim

in a timely manner.

                                  PROOF OF CLAIM FORMS

       35.     With the assistance of the Claims and Noticing Agent, the Debtors have prepared

the General Proof of Claim Form and the Abuse Proof of Claim Form, substantially in the forms

annexed hereto as Exhibits C-1 and C-2, respectively, which substantially conform to Official

Form 410, but have been tailored to these chapter 11 cases. The substantive modifications to

Official Form 410 proposed by the Debtors for the General Proof of Claim include: (a) indicating

how the Debtors have identified each creditor’s respective claim, including, if available, the

amount of the claim and whether the claim has been listed as contingent, unliquidated, or

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  Notice and any materials certifying service of notice will be made in accordance with the Notice and
Confidentiality Procedures Motion, filed concurrently herewith.



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disputed; and (b) adding certain instructions, including that the General Proof of Claim Form

should not be used to assert an Abuse Claim. The General Proof of Claim may be further

customized by the Debtors (to the extent possible) to contain certain information about the

creditor and the Debtor against which the creditor may have a claim.

       36.     Additionally, given that the Abuse Claims substantively differ from other types of

claims that may be filed against the Debtors, the Debtors are requesting that the Court approve a

modified Abuse Proof of Claim Form for such claims. The Abuse Proof of Claim Form requests

important information relating to the Abuse Claims in accordance with the Confidentiality

Protocol discussed above, which will assist the Debtors and parties in interest in evaluating and

resolving the Abuse Claims. A gating issue in these chapter 11 cases is the magnitude of the

Debtors’ liability with respect to Abuse Claims to be addressed in a plan of reorganization. As

such, the information being requested in the Abuse Proof of Claim Forms is critical to assessing

the Debtors’ aggregate liability, both overall and for different categories of claims. The Debtors

believe that obtaining this information will be essential to moving forward on a path of

resolution in these chapter 11 cases, whether the aggregate amount of liability relating to the

Abuse Claims is established consensually, as the Debtors continue to work toward, or otherwise.

The information being requested has been tailored and organized in a streamlined manner so that

providing the same will not impose an undue burden on any holder of an Abuse Claim.

       37.     In accordance with the Confidentiality Protocol, in light of the sensitive nature of

certain of the injuries and damages likely to be asserted in connection with the Abuse Claims, the

Debtors are requesting that the submitted Abuse Proofs of Claim and any supporting

documentation not be made available to the general public unless a holder of an Abuse Claim

designates otherwise on the Abuse Proof of Claim. As discussed above, copies of the Abuse




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Proofs of Claim may be made available to certain Permitted Parties in accordance with the

Confidentiality Protocol.   Accordingly, the Debtors submit that the Proof of Claim Forms

substantially conform to Official Form 410 and should be approved.

                                     BASIS FOR RELIEF

I.     The Proposed Bar Dates and Procedures Are Reasonably Calculated to Provide Due
       and Proper Notice.

       38.     Bankruptcy Rule 2002(a)(7) requires a debtor to provide at least twenty-one (21)

days’ notice of the time fixed for filing Proofs of Claim. To satisfy the requirements of due

process, notice of the Bar Dates must be reasonably calculated to apprise interested persons of

the deadlines for filing Proofs of Claim. See Mullane v. Central Hanover Bank & Tr. Co., 339

U.S. 306, 314 (1950). Whether notice is reasonable or adequate depends on whether a creditor is

known or unknown to the debtor. See Fogel v. Zell, 221 F.3d 955, 963 (7th Cir. 2000) (citing In

re Chicago, Milwaukee, St. Paul & Pacific R. Co., 974 F.2d 775, 788 (7th Cir. 1992)).

       39.     When a creditor is known to the debtor, due process requires that the debtor take

reasonable steps, such as direct mailing, to provide actual notice of the deadline for submitting

proofs of claim. See, e.g., Zell, 221 F.3d at 963 (noting that, if a creditor’s “name and address

are reasonably ascertainable, he is entitled to have [bar date] information sent directly to him”);

In re Grand Pier Center LLC v. ATC Group Servs., Inc., Case Nos. 03-C-7767, 05-C-1156, 2007

WL 2973829, at *5 (N.D. Ill. Oct. 9, 2007) (“for a known or ‘reasonably ascertainable’ creditor,

means reasonably calculated to provide actual notice (such as notice by mail) are typically

required” (quoting Tulsa Prof’l Collections Servs., Inc. v. Pope, 485 U.S. 478, 490 (1988))).

       40.     Pursuant to the Proposed Order, the Debtors will be providing at least eighty (80)

days’ notice of the Bar Dates. With respect to both the General Bar Date Notice and Abuse

Claims Bar Date Notice, the Claims and Noticing Agent will have seven (7) business days from



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the date of entry of the Proposed Order to complete the mailing of the Bar Date Notices to

known claimants. Accordingly, the Debtors submit that the proposed Bar Dates and all Notice

Procedures related thereto provide sufficient notice and time for all parties in interest, including

holders of Abuse Claims, to assert their claims.

       41.     Further, because the proposed Notice Procedures will provide notice to all known

claimants by mail and will provide notice to unknown claimants via the forthcoming

Supplemental Notice Plan, the Debtors submit that the proposed Notice Procedures are

reasonably calculated to provide notice to all parties that may wish to assert a claim in these

chapter 11 cases and are consistent with due process. The Debtors’ proposed eighty (80) day

notice period is consistent with the notice periods provided to claimants in other mass tort cases.

See, e.g., In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y. Feb. 3, 2020)

(approving approximately 134 day notice period for personal injury claimants asserting opioid-

related claims); In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. July 1, 2019)

[Docket No. 2806] (approving initial bar date notice period of 95 days for personal injury and

other claims resulting from wildfires); In re USA Gymnastics, Case No. 18-09108-RLM-11

(Bankr. S.D. Ind. Feb. 25, 2019) [Docket No. 301] (approving 60 day bar date notice period for

survivors asserting sexual abuse claims); In re TK Holdings, Inc., Case No. 17-11375 (BLS)

(Bankr. D. Del. Oct. 4, 2017) [Docket No. 959] (approving 79 day bar date notice period for

individuals asserting personal injury and other claims resulting from defective airbag inflators).

       42.     The Claims and Noticing Agent will also post the Proof of Claims Forms, along

with instructions for filing Proofs of Claim, on the case website, www.OfficialBSAClaims.com.

The Bar Date Notices will also provide that the Debtors’ Schedules may be accessed through the




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same website or by contacting the Claims and Noticing Agent at the applicable toll-free phone

number or email address, as set forth in the Bar Date Notices.

       43.     After the initial mailings of the Bar Date Notices and Proof of Claim Forms, the

Debtors may, in their discretion, make supplemental mailings of notices, including in the event

that: (a) notices are returned by the post office with forwarding addresses; (b) certain parties

acting on behalf of parties in interest decline to pass along notices to these parties and instead

provide their names and addresses to the Debtors for direct mailing; and (c) additional potential

claimants become known to the Debtors. Under these and any analogous circumstances, the

Debtors request that the Court permit these supplemental mailings of the Bar Date Notices and

Proof of Claim Forms at any time up to 21 days in advance of the applicable Bar Date, with any

such mailings deemed timely and the applicable Bar Date being enforced against the relevant

creditors.

II.    The Proposed Procedures for Submitting Proofs of Claim Should Be Approved.

       44.     The Debtors have worked to design claims procedures that provide full notice and

clear instructions to claimants and also allow these chapter 11 cases to move forward quickly

with minimal administrative expense and delay.

       45.     The proposed procedures provide easily understandable instructions for

submitting Proofs of Claim. These procedures will help claimants file clear and correct Proofs of

Claim, which will avoid unnecessary expense and delay in the claims reconciliation process, to

the benefit of all parties in interest. For example, the proposed Proof of Claim Forms provide

useful information to scheduled creditors regarding how their claims are reflected in the

Schedules, streamlining the claims analysis process. Indeed, the Debtors believe that using

personalized Proof of Claim Forms will result in a claims reconciliation process that is less

burdensome, costly, and time-consuming, which enhances recoveries for all creditors.


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       46.     In addition, the Debtors submit that the proposed Abuse Proof of Claim Form is

appropriate under the circumstances of these cases. It is well established that the Court has the

authority to authorize the modification of Official Bankruptcy Forms. See In re A.H. Robins

Co., 862 F.2d 1092 (4th Cir. 1988); In re Eagle-Picher Indus., Inc., 158 B.R. 713, 716 (Bankr.

S.D. Ohio 1993). While Bankruptcy Rule 3001(a) provides that “[a] proof of claim shall

conform substantially to the appropriate Official Form,” Bankruptcy Rule 9009 authorizes

appropriate and necessary alterations to the Official Forms:

               the Official Forms prescribed by the Judicial Conference of the
               United States shall be observed and used with alterations as may
               be appropriate. Forms may be combined and their contents
               rearranged to permit economies in their use. The Director of the
               Administrative Office of the United States Courts may issue
               additional forms under the Code. The forms shall be construed to
               be consistent with these rules and the Code.

Fed. R. Bankr. P. 9009.

       47.     Similar forms have been approved in cases involving the assertion of claims

arising from sexual abuse. See, e.g., In re USA Gymnastics, Case No. 18-09108-RLM-11

(Bankr. S.D. Ind. Feb. 25, 2019) [Docket No. 301]; In re Roman Catholic Bishop of Great Falls

Montana, Case No. 17-60271-JDP (Bankr. Mont. Apr. 27, 2017) [Docket No. 121]; In re Roman

Catholic Church of the Diocese of Gallup, New Mexico, Case No. 13-13676-T11 (Bankr. N.M.

Apr. 11, 2014) [Docket No. 218]; In re Christian Bros.’ Institute, Case No. 11-22820 (RDD)

(Bankr. S.D.N.Y. Feb. 10, 2012) [Docket No. 244]; In re Catholic Diocese of Wilmington, Inc.,

Case No. 09-13560 (Bankr. D. Del. Feb. 1, 2010) [Docket No. 308].

       48.     Given that the Debtors and certain other parties in interest require additional and

differing information to assess the Abuse Claims that is not set forth in Official Form 410, the

Debtors seek the Court’s approval of the proposed Abuse Proof of Claim Form.




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       49.     The Confidentiality Protocol is also necessary and appropriate under the

circumstances of these chapter 11 cases. The Debtors are sensitive to the issues that may arise

for an abuse victim or a representative of a minor asserting a claim against the Debtors’ estates.

No abuse victim should have to choose between filing a claim and keeping the circumstances of

his or her experiences confidential. The Debtors are focused on allocating and distributing

proceeds to abuse victims holding allowed claims as fully and equitably as possible, and so

encourage all abuse victims to come forward with their Abuse Claims. Similarly, the Debtors

seek to respect the privacy of minors who may be involved in litigation with the Debtors. To

that end, the Debtors request the approval of the Confidentiality Protocol set forth herein.

                                 RESERVATION OF RIGHTS

       50.     Nothing contained herein is intended or should be construed as (a) an admission

as to the validity or priority of any claim or lien against the Debtors, (b) a waiver of the Debtors’

rights to subsequently dispute such claim or lien on any grounds, (c) a promise or requirement to

pay any prepetition claim, (d) an implication or admission that any particular claim is of a type

specified or defined in this Motion or the Proposed Order, (e) a request or authorization to

assume any prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy

Code, or (f) a waiver of the Debtors’ or any other party in interest’s rights under the Bankruptcy

Code or any other applicable law.

                                             NOTICE

       51.     Notice of this Motion will be provided to (i) the U.S. Trustee; (ii) the twenty-five

(25) law firms representing the largest numbers of abuse victims asserting claims against the

Debtors; (iii) the holders of the thirty (30) largest unsecured claims against the Debtors on a

consolidated basis, other than abuse-related claims; (iv) counsel to JPMorgan Chase Bank, N.A.;

(v) the County Commission of Fayette County (West Virginia), as issuer of those certain


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Commercial Development Revenue Bonds (Arrow WV Project), Series 2010A, 2010B and 2012;

(vi) representatives of the prepetition ad hoc committee of local councils; (vii) counsel to the

prepetition Future Claimants’ Representative; (viii) counsel to the prepetition ad hoc group of

attorneys representing significant numbers of abuse victims; (ix) the United States Attorney’s

Office for the District of Delaware; (x) the Internal Revenue Service; (xi) the United States

Department of Justice; and (xii) any party that has requested notice pursuant to Bankruptcy Rule

2002.

                                       CONCLUSION

        WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto, granting the relief requested herein and any further

relief the Court may deem just and proper.

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